                              Case 2:19-mc-00034-JJT        Document 1        Filed 10/07/19   Page 1 of 2



                      1   Bradley D. Shwer (No. 022696)
                          Sara R. Witthoft (No. 023521)
                      2   3200 North Central Avenue, Suite 1560
                          Phoenix, Arizona 85012-2441
                      3   Telephone: (602) 682-6100
                          Email: docket@thorpeshwer.com
                      4   Email: bshwer@thorpeshwer.com
                          Email: switthoft@thorpeshwer.com
                      5
                          Attorneys for Applicant Julia Allison Baugher
                      6
                      7
                      8                         UNITED STATES DISTRICT COURT FOR THE

                      9                                     DISTRICT OF ARIZONA

                     10   In the Matter of the Application of Julia           MISCELLANEOUS ACTION:
                          Allison Baugher
                     11
THORPE SHWER, P.C.




                     12                                                       REQUEST TO THE CLERK OF THE
                                                                              COURT      FOR    ISSUANCE  OF
                     13                                                       SUBPOENA PURSUANT TO 17
                                                                              U.S.C. § 512(h) AND SUPPORTING
                     14                                                       DECLARATION OF BENJAMIN
                                                                              STERNBERG
                     15
                     16
                     17
                     18              Pursuant to 17 U.S.C. § 512(h), a provision of the Digital Millennium Copyright
                     19   Act (“DMCA”), Applicant Julia Allison Baugher hereby requests that the Clerk of this
                     20   Court issue a subpoena duces tecum directed to GoDaddy.com, LLC (the “DMCA
                     21   Subpoena”).
                     22              As is explained in the Declaration of Benjamin Sternberg, which is attached hereto
                     23   as        Exhibit   A,    an    unknown      individual      who     operates      the   website
                     24   https://rebloggingdonk.com/ (the “Blog”) has used the pseudonym “Gilly Blake”1 to
                     25   1
                           Prior to using the pseudonym “Gilly Blake,” the operator or operators of the Blog used
                          the pseudonyms “JC Donk LaRue” and “Julia’s Publicist” to infringe Ms. Baugher’s
                     26   copyright rights. If “JC Donk LaRue” and “Julia’s Publicist” refer to distinct individuals,
                     27   the DMCA Subpoena should be construed as seeking identifying information relating to
                          those website operators as well.
                     28
                                                                          1
                          9121594
                           Case 2:19-mc-00034-JJT           Document 1         Filed 10/07/19   Page 2 of 2



                      1   infringe Ms. Baugher’s exclusive copyright rights in a variety of works, including a
                      2   previously unpublished book proposal. See Exhibit A at ¶ 5. This DMCA Subpoena
                      3   Request is directed to the host of the Blog, GoDaddy.com, LLC (“GoDaddy”), and seeks
                      4   information sufficient to ascertain the true identity of the anonymous infringer who owns
                      5   and operates the Blog.
                      6             For a DMCA subpoena to be issued, a copyright owner must satisfy each of the
                      7   three requirements for issuance of a DMCA subpoena set forth in 17 U.S.C. § 512(h)(2).
                      8   Applicant Baugher has complied with all of the requirements of Section 512(h)(2),
                      9   namely:
                     10             (1)   Ms. Baugher has filed a takedown notification with GoDaddy and attached
                     11                   that notice to this filing (see Exhibit A at ¶ 4, Ex. 1);
THORPE SHWER, P.C.




                     12             (2)   Ms. Baugher has submitted a proposed subpoena (see Exhibit B); and
                     13             (3)   Ms. Baugher has submitted a declaration from counsel affirming that “the
                     14                   purpose for which the subpoena is sought is to obtain the identity of an
                     15                   alleged infringer” and to protect rights under the Copyright Act. See Exhibit
                     16                   A at ¶ 5.
                     17             WHEREFORE, pursuant to 17 U.S.C. § 512(h)(4), Ms. Baugher respectfully
                     18   requests that the Clerk of this Court expeditiously issue and sign the proposed subpoena
                     19   attached hereto as Exhibit B and return it to the undersigned counsel for service on
                     20   GoDaddy.
                     21
                     22   Dated: October 4, 2019
                     23                                                         Respectfully Submitted,
                     24
                     25                                                         /s/ Sara R. Witthoft
                                                                                Attorneys for Applicant Julia Allison
                     26
                                                                                Baugher
                     27
                     28
                                                                           2
                          9121594
